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                                UNITED STATES DISTRICT COURT
                                SOUTHERN DISTRICT OF FLORIDA


       IRA KLEIMAN, as the personal
       representative of the Estate of David
       Kleiman, and W&K Info Defense Research,
       LLC
                                                          Case No. 9:18-cv-80176-BB/BR
                         Plaintiffs,

                vs.

       CRAIG WRIGHT

                         Defendant.


                         [PROPOSED] ORDER ON W&K’S UNOPPOSED
                      MOTION TO STAY DEADLINE FOR MOTION FOR FEES

            This cause is before the court on W&K’s motion for extension of time. The Court has

   reviewed the motion, and being fully advised, it is hereby:

            ORDERED AND ADJUDGED that the motion is granted. The deadline for W&K to file

   its motion for fees is stayed until two weeks after the appearance of new counsel for Wright, or

   until W&K files a motion to lift the stay.

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                                                Judge Bruce E. Reinhart

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   cc: All counsel of record.
